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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    Case No.: 1:18-cv-24190

  WILLIAM O. FULLER, and
  MARTIN PINILLA, II,

                 Plaintiffs,
  v.

  JOE CAROLLO,

              Defendant.
  ___________________________________/

                PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL

         Plaintiffs, pursuant to SDFL L.R. 5.4, hereby respectfully move for an order allowing them

  to file under seal a Motion for Mediation Sanctions. In support, Plaintiffs state as follows:

         1.      Plaintiffs intend to file a Motion for Sanctions for Defendant Carollo’s breach of

  confidentiality in mediation. Doing so in a public unsealed filing will further gorge the

  confidentiality afforded to mediation by showcasing the statements already disclosed. Further, in

  explaining how the disclosure can only have originated from the confidential mediation, Plaintiffs

  risk further disclosure of highly confidential information.

         2.      This information should be sealed to comply with established public policy set forth

  in Federal and Florida law. Indeed, both Florida and Federal law task courts with safeguarding

  confidentiality in mediation. Florida Statute § 44.405(1) states “all mediation communication shall

  be confidential.” Similarly, the United States Congress mandates all courts to ““provide for the

  confidentiality . . . and [ ] prohibit disclosure of confidential dispute resolution communications.”

  28 U.S.C. § 652(d). And SDFL L.R. 16.2(G)(2) provides that “[a]ll Proceedings of the mediation

  shall be confidential and are privileged in all respects as provided under federal law and Florida

  Statutes § 44.405 . . . .” Along these lines, this Court has acknowledged the importance of
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  confidentiality in mediation. See Mocombe v. Russell Life Skills, 2014 WL 11531569, at *19 (S.D.

  Fla. Oct. 7, 2014). In addition, confidential designation is required to avoid substantial injury to

  the non-breaching parties by the disclosure of matters protected by the privacy rights in mediation.

  While Plaintiffs have a right to petition this Court for sanctions based on Carollo’s disclosures,

  Plaintiffs intend to continue mediating in good faith and respectfully request this Court protect the

  confidentiality of the mediation.

         3.      Given the importance of confidentiality in mediation, Plaintiffs respectfully request

  that the Motion for Sanctions remain sealed indefinitely.

         4.      Counsel for Plaintiffs have consulted with counsel for Defendant pertaining to the

  relief sought by this motion but the parties have been unable to resolve the issues.

         5.      A proposed order granting this motion is attached hereto as Exhibit A.

         WHEREFORE, Plaintiffs respectfully requests that this Court enter an order allowing

  Plaintiffs to file under seal their Motion for Mediation Sanctions.

  Dated: January 17, 2024

                                                        Respectfully submitted,

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                                                        By: /s/ Jeffrey W. Gutchess
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                                                        Counsel for Plaintiffs
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                      CERTIFICATION OF GOOD FAITH CONFERENCE

         Pursuant to Local Rule 7.1(a)(3)(A), I hereby certify that counsel for the movant has

  conferred with all parties and non-parties who may be affected by the relief sought in this motion

  in a good faith effort to resolve the issues but has been unable to resolve the issues.

                                                        /s/ Jeffrey W. Gutchess
                                                        Jeffrey W. Gutchess


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 17th day of January, 2024, I electronically filed the

  foregoing with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is

  being served this day on all counsel of record.


                                                        By: /s/ Jeffrey W. Gutchess
                                                        Jeffrey W. Gutchess, Esq.
